
*580In re Norfolk Southern Corporation et al.; Norfolk Southern Railway Company; Norfolk and Western Railway Company; Alabama Great Southern Railroad Company; Southern Region Industrial Realty Inc.; Central of Georgia Railroad Company; Cincinnati Railway Company; New Orleans Railway Company; Texas Pacific Railway Company; — Plaintiff(s); Applying for Writ of Certiorari and/or Review, Parish of E. Baton Rouge, 19th Judicial District Court Div. D, No. 410-025; to the Court of Appeal, First Circuit, No(s). 2002 CA 0369, 2002 CA 0371, 2002 CA 0372.
Denied.
